Case: 5:22-cv-01454-CEH Doc #: 1-11 Filed: 08/15/22 1 of 4. PagelD #: 40

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Case: 5:22-cv-01454-CEH Doc #: 1-11 Filed: 08/15/22 2 of 4. PagelD #: 41

PHBL Grail - Order #1406 conlirmed

XN

Gmail Karl Forsell <fforcc@gmaiL.com>

Order #1406 confirmed me

{ message

FPGA Land <sales@fpga.tand> 44 June 2018 at 71:09
To: fral@timbnet

FPGA Land ORDER M1406

Thank you for your purchase!

Hi Carl, we're getting your order ready to be shipped, We will notify you when it
has been sent.

or Visil our store

Order summary

BCU1525 - Blockchain Edition (With Mods &

RAM} x 30 $108,000.00
18GB
Subtotal $108,000.00
Shipping $410.80
Total $108,410.80 USD

Customer information

Shipping address Billing address

Car Forseil Carl Forsell

Nonce Pte Lid Nonce Pte Lid

8 St Martin's Dr 8 St Martin's Dr

#03-21 St Martin Residence #03-21 St Marlin Residence
Singapore 258005 Singapore 258005
Singapore Singapore

Shipping method Payment method

Wortdwide Bank deposit — $108,410.80

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RAVROAL Gait - Order #1406 confirmed

N

I you hive any questions, reply lo this email or contact us af sales@tpga.fand

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DBSS8G3G SWIFT SYSTEH

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OUTGOING SHIFT MESSAGES SENT

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Sub-format#Input
Identifier=fin. 103

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Sender's Referance
0016073240719

Dank Operation Code

CRED

Vab Dre/Curr/Interbak Settld Amt

Dato 7 id June 2018

Curzency 1 USD {WS DOLLAR}

Anount 1 #104.410,4
Currency/Insk rusted Amount

Currency F USD (US DOLLAR]

Amount. : 408,430, 4
Ordoring Customer-Hame & Address
71200768598

FORSELL. CARL LENG

6 ST. MARTIN'S DRIVE ST, MARTIN
TESIDENCE 03-21 SIRGAPORE 256005
Account With Institution - FI BIC

/fERO4I000037

CHASUE3IXAK

Beneficiary Cuatemar«Wame 4 addr
{291615919

ALLHIBE TRC,

9900 CORPOHATE CANFUS DRIVE, SUITE
EOUISVELLE, KY 40223 USA
Remittance Information

PAYWEHT FOR FEGA LAHG ORDER 1406
DUSIBHCE

Datakls of Charges

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08/15/22 4of 4. PagelD #: 43

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